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                 28 U.S.C. § 1746 DECLARATION OF KENNETH LOFTIN

Pursuant to 28 U.S.C. § 1746, I hereby declare as follows:

       1.      My name is Kenneth Loftin. I am over twenty-one (21) years of age and of sound

and disposing mind. I have never been convicted of a felony or a crime involving dishonesty or

false statement. I have knowledge of, and am competent to testify about, the matters stated in this

Declaration. I am under no legal or other disability. The facts stated herein are true and correct to

the best of my knowledge and belief.

       2.      I am currently employed as the Deputy Secretary for the Louisiana Office of

Juvenile Justice (“OJJ”).

       3.      I am familiar with litigation against OJJ, specifically the ongoing case involving

the Bridge City Center for Youth at West Feliciana (“BCCY-WF”), styled Alex A., et al. v.

Edwards, et al., Civ. A. No. 3:22-CV-00573-SDD-RLB (the “Lawsuit”).

       4.      OJJ currently houses youth assigned to its secure care system in the following

locations: Bridge City Center for Youth in Jefferson Parish; Swanson Center for Youth in Monroe

(“SCY-Monroe”); Swanson Center for Youth at Columbia; Acadiana Center for Youth in Bunkie;

Acadiana Center for Youth in St. Martinville; and the juvenile facility at the Jackson Parish Jail in

Jonesboro (“Jackson Parish”).

       5.      OJJ currently has no plans to reopen BCCY-WF for housing of youth in OJJ

custody.

       6.      OJJ currently has no plans to house youth at any facility designed/constructed to

house adult prisoners/inmates.




                                                                                         EXHIBIT
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       7.       When a juvenile detention center and an adult jail are located in the same building

or are part of a related complex of buildings located on the same grounds, it is known as a

“collocated facility.” See 34 U.S.C. § 11103.

       8.       The Jackson Parish Jail is a correctional complex with a section that houses adults

and a separate section that houses youth. The Jackson Parish Jail is a collocated facility.

       9.       Jackson Parish is the only collocated facility where OJJ currently houses youth.

       10.      OJJ currently has no plans to house youth in any other collocated facility.

       11.      Construction and renovations at SCY-Monroe are nearing completion. OJJ expects

that SCY-Monroe will be fully open by the end of March 2024.

       12.      One facility on campus at SCY-Monroe, the “Cypress Unit,” is already open and

housing youth. OJJ plans for the Cypress Unit to serve as a Transitional Treatment Unit (“TTU”).

However, the Cypress Unit is not currently operating as a TTU. OJJ is in process of training staff

on TTU programming and making related preparations necessary to operate the TTU at the

Cypress Unit.

       13.      OJJ does not currently operate a TTU at any location.

       14.      BCCY-WF was a TTU. When BCCY-WF closed in September 2023, OJJ no

longer had a TTU.

       15.      Jackson Parish is not, and never has been, a TTU.




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       I declare under penalty of perjury that the above and foregoing is true and correct to the

best of my knowledge, information, and belief.

Dated: February   g- • 2024.



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